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                                  In the
               United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 24-12311
                         ____________________

      UNITED STATES OF AMERICA,
                                                     Plaintiﬀ-Appellant,
      versus
      DONALD J. TRUMP,
      WALTINE NAUTA,
      CARLOS DE OLIVEIRA,


                                                 Defendants-Appellees.


                         ____________________

                Appeal from the United States District Court
                    for the Southern District of Florida
                   D.C. Docket No. 9:23-cr-80101-AMC
                         ____________________
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      2                       Order of the Court                24-12311

      ORDER:
             Motion for leave to file brief of Amici Curiae, Citizens for
      Responsibility and Ethics in Washington, Nancy Gertner, Stephen
      Gillers, and James J. Sample, in support of the Appellant is
      GRANTED.
            Motion for leave to file brief of Amici Curiae, Constitutional
      Lawyers, Former Government Officials, and State Democracy De-
      fenders Action, in support of Appellant is GRANTED.




                                                       DAVID J. SMITH
                                      Clerk of the United States Court of
                                        Appeals for the Eleventh Circuit

                      ENTERED FOR THE COURT - BY DIRECTION
